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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                       Plaintiff,               )                    4:10CR3085
                                                )
               v.                               )
                                                )
FABIAN ANTILLON-ESTRADA,                        )         MEMORANDUM AND ORDER
                                                )
                       Defendants.              )

        The defendant has retained counsel, and retained counsel has entered an appearance in this
case.

        Accordingly,

        IT IS ORDERED:

        1)     The motion to withdraw filed by defendant’s appointed counsel, Alan Stoler, (filing
               no. 43), is granted.

        2)     The clerk shall delete Mr. Stoler from any future ECF notifications herein.


        DATED this 27th day of September, 2010.

                                               BY THE COURT:

                                               s/ Cheryl R. Zwart
                                               United States Magistrate Judge
